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                  EXHIBIT E – RESPONSE
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May 20, 2022

VIA U.S. Mail and Electronic Mail

Victoria Ferrise
Brennan Manna Diamond
250 Civic Center Drive, Suite 300
Columbus, Ohio 43215
vlferrise@bmdllc.com
330-374-5184


Re:         Eastern Gateway Community College Correspondence Dated May 10, 2022

Dear Ms. Ferrise:

Please find this letter in response to the correspondence from Michael Geoghegan on behalf of
your client, Eastern Gateway Community College (“EGCC”), which was dated May 10, 2022.
Student Resource Center, LLC (“SRC”) remains just as committed today to

                                                                                               as much as it did when the Parties entered
into the Agreement1 on June 30, 2017.




EGCC’s correspondence claims that


                                                                                                                     Neither of EGCC’s
assertions are properly based in law or fact.




1
    Capitalized terms that are undefined will adopt the same meaning from EGCC’s May 10, 2022 correspondence.
       Atlanta   Boston   California   Chicago   Delaware   Indiana   Michigan   Minneapolis   New York   Ohio   Raleigh   Salt Lake City   Texas   Washington, D.C.
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Victoria Ferrise
May 20, 2022
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                                                                                         Although
the Agreement does not define “material breach,” courts generally interpret that term to mean “a
party’s failure to perform an element of the contract that is so fundamental to the contract that
the single failure to perform defeats the essential purpose of the contract or makes it impossible
for the other party to perform.” O’Brien v. Ohio State Univ., 10th Dist. Franklin No. 06AP-946,
2007-Ohio-4833, ¶ 56, quoting 23 WILLISTON ON CONTRACTS, Section 63:3;

              The determination of whether a party’s breach of a contract was a “material breach”
is generally a question of fact. Id. at ¶ 11.

Here, EGCC contends that SRC’s decision to remove one of its own employees, Michael Perik,
from the position of CEO constitutes a material breach of the Agreement. The retention of Mr.
Perik as CEO, however, was never “an element of the [Agreement]” let alone one that was “so
fundamental to the contract” that his removal “defeats the essential purpose of the contract or
makes it impossible for the other party to perform.” See O’Brien, ¶ 56. On the contrary, Mr.
Perik’s replacement, Phillip W. Braithwaite, holds extensive prior experience as an executive
and SRC continues to meet its duties under the Agreement.

In fact, the Agreement implies the opposite of what EGCC claims was a “material breach.”


                                                  Thus, removing Mr. Perik as SRC’s CEO not
only fails to meet the standard required by Ohio law for a “material breach,”




                                                  Therefore, the nature of the Collaboration
has not changed by and EGCC suffered no harm from SRC’s removal of Mr. Perik from his prior
position as SRC’s CEO.

Based on the above, EGCC does not have a basis for claiming SRC materially breached the
Agreement because of SRC’s decision to remove Mr. Perik from his prior position as SRC’s
CEO. I look forward to working with you to resolve this matter.

                                             Very truly yours,




                                             C. David Paragas

cc:    Phillip Braithwaite, CEO, Student Resource Center, LLC
